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UNITED STATES DISTRICT COURT                                    USDC SDNY
SOUTHERN DISTRICT OF NEW YORK                                   DOCUMENT
 ------------------------------------------------------X        ELECTRONICALLY FILED
                                                                DOC #: _________________
                                                       :
                                                                              June 1, 2017
                                                                DATE FILED: ______________
 KELLY PRICE,                                          :
                                                       :
                                      Plaintiff,       :    15 Civ. 5871 (KPF)
                                                       :
                       v.                              :   OPINION AND ORDER
                                                       :
 THE CITY OF NEW YORK, ROSE PIERRE- :
 LOUIS, SELVENA BROOKS, INSPECTOR :
 OLUFUNMILO F. OBE, DETECTIVE LINDA :
 SIMMONS, OFFICER JOHN STAINES,                        :
 OFFICER ISELAINE GUICHARDO                            :
 HERMENE GILDO CRUZ, LT. NICHOLAS :
 CORRADO, LIEUTENANT RAYMOND                           :
 DEJESUS, OFFICER EMMET, SERGEANT :
 SHEVTIZ, MTA OFFICER JOHN DOE, and :
 MTA OFFICER JANE DOE,                                 :
                                                       :
                                      Defendants. :
                                                       :
 ----------------------------------------------------- X
KATHERINE POLK FAILLA, District Judge:

       The Court is in receipt of Plaintiff Kelly Price’s second Motion for

Reconsideration, filed May 26, 2017, which requests that the Court reconsider

its Opinion and Order issued April 21, 2017 (the “April 21 Opinion” (Dkt #65)),

resolving her first motion to reconsider and motion to amend her complaint

(the “May 26 Motion” (Dkt. #70)). The Court hereby incorporates by reference

the April 21 Opinion’s recitation of the background of this litigation and legal

standards applicable to it.

       The Court finds that with regard to six of the seven issues raised in the

May 26 Motion, Plaintiff seeks only to relitigate issues already decided by this

Court and Judge Preska. Plaintiff’s motion to reconsider the resolution of these
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issues is denied. See, e.g., Shrader v. CSX Transp., Inc., 70 F.3d 255, 257 (2d

Cir. 1995) (“[A] motion to reconsider should not be granted where the moving

party seeks solely to relitigate an issue already decided.”); SimplexGrinnell LP v.

Integrated Sys. & Power, Inc., 642 F. Supp. 2d 206, 210 (S.D.N.Y. 2009) (“A

motion for reconsideration is not an invitation to parties to ‘treat the court’s

initial decision as the opening of a dialogue in which that party may then use

such a motion to advance new theories or adduce new evidence in response to

the court’s ruling.’” (internal citations omitted)).

      The only new matter that Plaintiff brings to the Court’s attention is

Plaintiff’s finding that the Manhattan District Attorney’s Office has blocked her

on Facebook. However, because Plaintiff no longer has any pending claims

against the Manhattan District Attorney’s Office in this litigation, the Court

does not believe it would be appropriate to add these claims to this case at this

stage. Plaintiff has not demonstrated that the alleged blocking of her access to

the Manhattan District Attorney’s Office’s Facebook page is related to any of

the allegations in this case. Accordingly, if Plaintiff wishes to bring a First

Amendment claim on the basis of these new allegations, Plaintiff needs to do so

in a new and separate action.

                                   CONCLUSION

      For the foregoing reasons, Plaintiff’s motion for reconsideration is

DENIED. The Clerk of Court is directed to terminate the motion pending at

Docket Entry 70.




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       The Court certifies under 28 U.S.C. § 1915(a)(3) that any appeal from

this Order would not be taken in good faith, and therefore in forma pauperis

status is denied for the purpose of an appeal. See Coppedge v. United States,

369 U.S. 438, 444-45 (1962).

       SO ORDERED.

Dated:        June 1, 2017
              New York, New York                  __________________________________
                                                       KATHERINE POLK FAILLA
                                                      United States District Judge




A copy of this Order was mailed by Chambers to:

Kelly Price
534 W. 187th Street
Apt. # 7
New York, NY 10033




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